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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             8:05CR187
                                              )
                     Plaintiff,               )
                                              )
              vs.                             )              ORDER
                                              )
TONIA PLUNK,                                  )
                                              )
                     Defendant.               )


       Before the court is the government’s motion for Rule 35(b) hearing. Filing No. 115. Having
considered the matter,
       IT IS ORDERED that:
       1.   A hearing on the government’s Rule 35 motion is scheduled for hearing before the
undersigned on October 11, 2007, at 2:30 p.m. in Courtroom No. 3, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       2. At the request of the defendant through her counsel, and with the agreement of the
government, the defendant may be absent from the hearing on the Rule 35 motion.
       3. The Marshal will not return the defendant to the district, and the defendant is held
to have waived her right to be present.


       DATED this 5th day of September, 2007.
                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
